Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 1 of 7
Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 2 of 7
Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 3 of 7
Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 4 of 7
Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 5 of 7
Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 6 of 7
Case 1:24-cv-11461-NMG Document 11 Filed 06/27/24 Page 7 of 7
